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 5
     Attorney for:
 6   MIGUEL MAGANA MARTINEZ
 7                                    UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                        Case No. 5:23-MJ-00021 CDB
11                       Plaintiff,
12           v.                                        STIPULATION AND ORDER TO
                                                       CONTINUE ARRAIGNMENT AND PLEA
13    MIGUEL MAGANA MARTINEZ,                          OR PRELIMINARY HEARING
14                       Defendants.
15

16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE BARBARA
17   MCAULIFFE AND JOSEPH BARTON, ASSISTANT UNITED STATES ATTORNEY:
18          COMES NOW Defendant, MIGUEL MAGANA MARTINEZ, through his attorney of

19   record, DAVID A. TORRES, hereby requests that the Arraignment & Plea re: Indictment or

20   Preliminary Hearing currently set for Friday, September 22, 2023, be continued to Monday,

21   September 25, 2023.

22          Counsel for Mr. Magana Martinez is scheduled to attend the swearing-in of his son-in-

23   law, Brandon Stallings as California State Bar President on Friday, September 22, 2023, in Los

24   Angeles, California. Counsel met with Mr. Magana Martinez today, September 20, 2023, via

25   Zoom, Mr. Magana Martinez has no objection to the continuance.

26          The parties now agree to continue the preliminary hearing until September 25, 2023. The

27   parties agree that good cause exists for the extension because the extension is required to allow

28   the defense reasonable time for preparation and to ensure continuity of counsel. The parties also
                                                       1
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 1   agree that the interests of justice served by granting this continuance outweigh the best interests

 2   of the public and the defendant in a speedy trial. Finally, the parties agree that the period from

 3   September 22, 2023, through September 25, 2023, should be excluded. Fed. R. Crim. P. 5.1(d);

 4   18 U.S.C. §3161(h)(7)(A) and (h)(7)(B)(iv).

 5
            IT IS SO STIPULATED.
 6                                                                 Respectfully Submitted,
 7   DATED: September 20, 2023                                     /s/ David A Torres           ___
                                                                   DAVID A. TORRES
 8                                                                 Attorney for Defendant
 9                                                                 Miguel Magana Martinez

10

11   DATED: September 20, 2023
                                                                   /s/Joseph Barton ________
12
                                                                   JOSEPH BARTON
13                                                                 Assistant U.S. Attorney

14

15                                                ORDER
16
            IT IS SO ORDERED that the Arraignment & Plea re: Indictment or Preliminary Hearing
17
     currently set for Friday, September 22, 2023. be continued to Monday, September 25, 2023, at
18
     2:00 p.m. before Magistrate Judge Barbara A. McAuliffe.
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20
     IT IS SO ORDERED.
21
        Dated:     September 20, 2023                          /s/ Barbara A. McAuliffe               _
22
                                                        UNITED STATES MAGISTRATE JUDGE
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